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                                                                                         ELECTRONICALLY FILED
                                                                                            Faulkner County Circuit Court
                                                                                             Crystal Taylor, Circun Clerk
                                                                                          2022-May-05 14:40:09
                                                                                              23CV-22-385
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                  IN THE CIRCUIT COURT OF FAULKNER COUNTY, ARKANSAS
                                     FffiST DIVISION

        SHARLLETTE BERRY

                    Plaintiff,

     .v.•                                                         Case No. 23CV-22-385

        CAPELLA UNIVERSITY

                    Defendant


                           PLAINTIFF'S FIRST AMENDED COMPLAINT

     TO THE HONORABLE JUDGE OF SAID COURT:
                                                          ..
            Comes now SHARLLETTE BERRY, he.reina,ft_er sometimes referred to as the Plaintiff,

     by and through her attorney, Tabatha Branch of TS Branch Law Firm PLLC, and files this

     Amended Complaint complaining of CAPELLA UNIVERSITY, hereinafter sometimes referred

     to as the Defendant. The Plaintiff would show the Court as follows:

                                     PARTIES AND JURISDICTION

             I.     Plaintiff Sharllette Berry is an individual and resident of Conway, Faulkner

    .County, Arkansas.
                                                 ' ..
            2.      Defendant, CAPELLA UNIVERSITY is a foreign corporation organized and

    existing under the laws of the State of Minnesota and doing business in Faulkner County,

· Arkansas. Defendant may be served at 225 South 6th Street, 9th Floor, Minneapolis, MN 55402.
    ~
            3.     The subject matter in controversy is within the jurisdictional limits of this court.


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              4.   This cause of action concerns an education plan that was entered into by Plaintiff
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      and Defendant in Faulkner County, Arkansas and, therefore, venue and jurisdiction is proper in
     . ·\

      this Court.

                                                 FACTS

              5.    In the Spring Quarter of 2010, Plaintiff enrolled at Capella University pursuing a

     PhD in Psychology with a specialization in Industrial/Organization Psychology. At the time

     admission, Plaintiff was made promises as to the time allocated to ,complete her degree. (See

     Exhibit A).

              6.    At the time of Plaintiff's enrollment, the PhD in Psychology program requires

     completion of a series of courses and residencies, _followed by ·a comprehensive examination .
                                                            ..
     Hpon successful complete of that exam, the progra~ cuiminates with dissertation component. To

     complete the dissertation, and earn the PhD degree, enrollees develop and undertake an

     independent scholarly research project of scientific merit. and then craft a dissertation

     p,anuscript worthy of academic publication concerning their research.
     t1
             7.     Plaintiff completed all her coursework of the PhD in Psychology program in
    °r'J i
     Winter Quarter 2014 and passed her comprehensive examination the next academic period.
     r
 ·Plaintiff
 ,.         commenced dissertation efforts in Summer Quarter 2014. Over the next several

:quarters, Plaintiff developed and earned academic approval of her diss_ertation topic and research
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.plan.
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             8.     As. of June 2018, certain representatives of Capella made her education contract

·impracticable to perform pursuant to the university policies regarding time requirements for
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bbtaining a Ph.D. in Psychology. These representatives often behaved negligently and did not act
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 in good faith and with fair dealing in the enforcement of Plaintiffs education contract. As such,




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    these individuals have prevented Plaintiff from fulfilling her contractual obligations; because of

    this, have now cancelled her enrollment at Capella University.
        ' ..·
                 9.     This cause arises out of the Defendant's fraud/misrepresentation and violations of

· st_f.ltutes, as hereinafter set forth.

                                        FRAUD/MISREPRESENTATION

                 10.    Plaintiff refers to all the preceding and subsequent allegations contained in this

  Complaint and incorporate them herein by this reference for all purposes.

                 11 .   Defendant informed the Plaintiff the PhD in Psychology program required

 completion of a series of courses and residencies, followed by a comprehensive examination and
 ·,
  i
  ~t the end of the exam, Plaintiff would receive her PhD degree. Defendant repeatedly instructed

  Plaintiff to carry out certain tasks which caused her education to; become impracticable to

 perform. These representatives behaved fraudulently and did not act' in good faith and caused
 ~;?'\
 Plaintiff to rely on these false statements made by representatives· of Defendant. Defendant

 provided Plaintiff with an initial advisor who suggested she gather data for her dissertation

 through social media. The advisor was dishonest and failed to advise, inform or otherwise

 emphasize that she first needed approval from SMR before doing so. This behavior by the

-~dvisor resulted. in Plaintiff being investigated and slowed her educational progression. Please
I.

 ~ee Exhibit A. The slowing of Plaintiffs _education progression was one of the reasons


,,pefendant failed to provide her with a degree. Furthermore, another _advisor provided a solid
        .

P.lan derived from Defendant's representatives who is a Psychology ~esearch Chair in order for
T·
...'my~. client to effectively progress though
t •
                                                    her "milestones" and finish her education. Plaintiff

accepted the plan. Later, after again, following the Defendant, a committee later unilaterally
I                                                           •
-rejected this plan. Additionally, Plaintiff was ultimately investigated _again after following the


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 ~irections of Defendant's representatives and the allegations were unfounded. The fra~dulent

actions of Defendant purposefully kept her delayed. Defendant's representations were false and

 misleading and constitute a misrepresentation of material fact. Plaintiff later found out the

 Defendant performed the same deceptive practice on several other individuals.

           12.     It was the Defendant's intention in making the fraudulent representations for the

purpose of getting the Plaintiffs to enter into a contract with the Defendant. That at the time the

representations were made, they were false, or Defendant did not khow if they were true or false.

           13.     That the representation of the Defendant was material to the Plaintiff's decision to

~nter into the contract with the Defendant and they relied on that representation in doing so. As a
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result of which they agreed to purchase the services of the Defendant and sustained the losses
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     ,.
and damages set forth above.

           14.     Plaintiff was justified in relying on the Defendant's representation and the

Plaintiff was damaged as a result of the misrepresentation.

       15.    Had Plaintiff known that the Defendant would not allow her to finish her degree,
,,
she would not have enrolled in Capella University.
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       16.    Defendant unlawfully refused to honor Plaintiffs work and tender her degree or
..
provide a refund of all funds paid.

                 VIOLATION OF THE ARKANSAS CONSUMER PROTECTION ACT

          17.     Plaintiff refers to all the preceding and subsequent allegations contained in this

Complaint and incorporate them herein by this reference for all purposes.

          18.     Plaintiff is a "person" as defined m the Arkansas Consumer Protection Act,

A.C.A. § 4-88-107 and 4-88-108.




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         19.    In the course of the transactio.ns, which are the subject of this lawsuit, Defendant

 engaged in following conduct:

         A.     making fraudulent and/or negligent representations, as herein before alleged;

         8.     failing to adequately and properly inform Plaintiff of his rights and remedies with

 respect to the transactions which are the subject of this Complaint;

         C.     misrepresenting Plaintiffs rights and remedies with respect to the transactions

 which are the subject of this Complaint, as herein before alleged;

         I.     failing to offer a refund of the purchase price of the monies paid.

        20.     Defendant informed the Plaintiff the PhD in Psychology program required
                                                                          '
completion of a series of courses and residencies, follow~d by a comprehensive examination and

at the end of the exam, Plaintiff would receive her PhD degree. Defendant repeatedly instructed
                                    .                 .

Plaintiff to carry out certain tasks which caused her education to become impracticable to
I.                                            •           .

perform. These representatives behaved fraudulently and did not act in good faith and caused

Plaintiff to rely on these false statements made by representatives .of Defendant. Defendant

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    qirections of Defendant's representatives and th_e allegations were unfounded. The fraudulent
    f                                              •       •


    ~ctions of Defendant purposefully kept her delayed. Defendant's representations were false and
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    ~isleading and constitute a misrepresentation of material fact. Plaintiff later found out the
    ~-..                                                                   ·.

    Defendant performed the same deceptive practice on several other individuals.

           21.     As a result of the Defendant's actions above Plaintiff has suffered the damages

    hereinbefore set forth, and also are entitled to statutory damages and attorney fees as provided in

 the Arkansas Consumer Protection Act.



                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff respectfully prays that this Court:

           I.     Award Plaintiff damages under her Fraud/Misrepresentation and Arkansas

Consumer Protection Act claims;

           2.     Award Plaintiff statutory damages pursuant to her Arkansas Consumer Protection

Act;
/l
           3.     Award Plaintiff her completed degree, or allow her to complete the necessary
!
steps required to be awarded her degree;

           4.     Award Plaintiff costs, pre- and post- judgment interest, expenses, and reasonable

i:!ttomey's fees, pursuant to the Arkansas Consumer Protection Act; and

           5.     Award Plaintiff such other relief as _the court deems appropriate.

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                           Respectfully submitted,


                           /S/ Tabatha Branch

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